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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                                 )
                                                           )
       Plaintiff,                                          )
                                                           ) C.A. NO. 1:18-cv-1264
       v.                                                  )
                                                           )
MBS DIRECT LLC,                                            )
                                                           )
       Defendant.                                          )

                        NOTICE OF DISMISSAL WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

Respectfully submitted,

                                                   STAMOULIS & WEINBLATT LLC

                                                    /s/ Stamatios Stamoulis
                                                   Stamatios Stamoulis (Del. Bar No. 4606)
                                                   Stamoulis & Weinblatt LLC
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                                                   Attorney for Symbology Innovations LLC


IT IS SO ORDERED this ____ day of ______________, 2019.

                                              _______________________________________
                                                    United States District Court Judge
